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                           UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA


ESROM DEMEKE                                                        CIVIL ACTION

VERSUS                                                              NO. 19-114-BAJ-RLB

BOARD OF SUPERVISORS OF
LOUISIANA STATE UNIVERSITY
AND A&M COLLEGE, ET AL.


                                            ORDER


       Before the Court is Plaintiff’s Motion to Amend Order. (R. Doc. 11).

       Plaintiff initiated this action on February 22, 2019, against the Board of Supervisors of

Louisiana State University and A&M College and other defendants. (R. Doc. 1). Plaintiff is

proceeding pro se and in forma pauperis. (R. Doc. 5). Plaintiff seeks amendment of a previous

order issued by the Court pursuant to Rule 60(a) of the Federal Rules of Civil Procedure.

       On May 2, 2019, the Court issued an order stating, among other things, that the Court had

been notified by the United States Marshal that Plaintiff had not submitted a completed U.S.

Marshal Form 285 for each of the defendants to be served as of the date of that Order. (R. Doc.

8). Plaintiff is seeking amendment of the May 2, 2019 Order on the basis that Plaintiff “provided

the United States Marshal a completed U.S. Marshal Form 285 for each defendant to be served”

on April 5, 2019. (R. Doc. 11).

       On May 28, 2019, after the instant motion was filed, the United States Marshal filed into

the record executed summons returns indicating that all defendants, with the exception of Rachel

L. Champagne, were served on May 23, 2019. (R. Doc. 12). The United States Marshal has

confirmed to the Court that Plaintiff has not submitted a completed U.S. Marshal Form 285 with
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respect to Rachel L. Champagne. Accordingly, the Court’s May 2, 2019 Order does not require

correction.

       IT IS ORDERED that Plaintiff’s Motion to Amend Order (R. Doc. 11) is DENIED.

       IT IS FURTHER ORDERED that Plaintiff is again notified that he is responsible for

providing to the United States Marshal a completed U.S. Marshal Form 285 for the defendant

Rachel L. Champagne. The United States Marshal will not serve the defendant without a

properly completed form. Plaintiff is informed that a failure to serve the defendant within the

time allowed by Fed. R. Civ. P. Rule 4(m) may result in a recommendation of dismissal of his

claims against the defendant.

       Signed in Baton Rouge, Louisiana, on June 3, 2019.




                                             S
                                             RICHARD L. BOURGEOIS, JR.
                                             UNITED STATES MAGISTRATE JUDGE




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